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November 1,       2 016


By ECF and Fed Ex


The Honorable Joseph F. Bianco
United States District Judge
Eastern District          of   New York
1040    Federal    Plaza
Central Islip,       New York 11722

Re: United States v. Arnolvin Umanzor Velasquez
       Docket No.     15-087     (S-l)     (JFB)


Dear Judge Bianco:

I represent Arnolvin Umanzor Velasquez                                  in the     above   referenced
matter.       I   write    to    comment        on     the         Pre-Sentence        Investigation
Report and to urge the Court to impose a sentence below the
advisory  guideline.   In  support   Mr.  Velasquez  respectfully
requests  that  the  Court   consider the   following mitigating
factors:   that he accepted responsibility for his actions and
entered a guilty plea thereby saving valuable judicial resources;
his age and its attendant characteristics at the time of the
conduct; the coercive impact of gang rules and culture; his
extraordinary steps toward post conduct rehabilitation, which
includes an escape from the New York area to Georgia, where as a
a married father he held two different jobs, paid taxes and
raised    his     children      which     we     submit            is    the    clearest    indicator
that Arnolvin Velasquez rejected the gang and turned a corner in
his    life     toward     rehabilitation.                 The          Court     is   authorized    to
consider these factors in imposing a sentence that is sufficient
but not greater than necessary to comply with the purposes of
sentencing as set forth in 18 U.S.C. § 3553 (a).

I.    Guilty Plea


Arnolvin Velasquez entered into a negotiated plea agreement with
the government, in which he accepted responsibility for his
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criminal conduct.     In so doing, Arnolvin Velasquez saved limited
judicial and prosecutorial resources.  He also came to terms with his
conduct and in an open court, in front of his family admitted his
conduct.  This is a significant step in Arnolvin's rehabilitation and
ultimately his redemption.


II.    History and Characteristics, 18 U.S.C.                § 3553 (a)

As a child,         Arnolvin Umanzor Velasquez was abandoned by his
parents, who        left him in the care of relatives in El Salvador.
Young       Arnolvin    spent    his    developmental        years    in   rural     El
Salvador,      living    without       electricity    and     in   poverty.        More
significantly, Arnolvin was frequently physically abused by his
grandmother. PSR at H 42.

Arnolvin arrived in the United States as a frightened, uncertain
twelve-year old boy unable to communicate in English. He was
confronted by the proliferation of competing gangs in the
neighborhood High School he attended.   He was easily recruited
into the gang by young men who shared his cultural heritage and
language. Unfortunately, Arnolvin faced a New York story as old
as    the   uJets   and the     Sharks."1     It has been repeated by every
incoming ethnic group since the Civil War.     Young people who
perceive themselves as outsiders ban together in groups and form
gangs for safety and security. See, James C. Howell and John P.
Moore, History of Street Gangs In the United States. National
Gang Center Bulletin, BJA, U.S. Department of Justice, May 2010.

Arnolvin was   eighteen-years old when    the  subject  conduct
occurred. He had been a member of the gang for only a few short
months.  Only able to speak limited English and working a night
job, Arnlvin left school after the eleventh grade. PSR a 1 52.

III. Arnolvin's Velasquez Age as a Mitigation Sentencing Factor


Arnolvin's age raises the question of what is the appropriate
sentence for a young, borderline adolescent where the Supreme
Court has consistently ruled that young people are fundamentally




     The fictional gang depicted in Westside Story.
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different      than   adults       for sentencing purposes.2              Although the Supreme
Court's       decision    in       Miller   v.   Alabama,      132   S.     Ct.   2455    (2012)
addresses mandatory life sentences for violent adolescent offenders, it
is instructive to the conditions faced by young Arnolvin. Fortunately,
Arnolvin does not face a mandatory life sentence here.      However, the
core characteristics of younger offenders are equally applicable to
Arnolvin.   As explained by the Supreme Court in Graham v. Florida, 560
U.S.   48  (2010)  that  because juvenile offenders    have   diminished
culpability and greater prospects for reform "they are less deserving
of the most severe punishment." Graham at 569.     The Court recognized
the lack of maturity and an underdeveloped sense of responsibility
which young    offenders  suffer which    leads  "to  recklessness   and
impulsivity, " Roper v. Simmons 543 U.S. 551 (2005). The Court also
observed that young people are more vulnerable to negative influences
and    have    limited    control       over     their   own    environment       and    lack    the
ability to extricate themselves from crime producing settings.

Most    importantly,           a    young    person's       character        is   not    as     well
formed as an adult, since his traits are less fixed and his
actions less likely to evince irretrievable depravity.  In short,
young offenders are less blameworthy because of the inherent
traits associated with their age. Accordingly,      the case for
retribution is not as strong with a young person.  The deterrence
model is less compelling since their immaturity and recklessness
make them less likely to consider potential punishment. Finally,
the argument for lengthy incapacitation is    weaker with younger
offenders because of a young person's capacity for change.
Miller at       2466.


IV.    Post    Conduct    Rehabilitation


Arnolvin Velasquez capacity to change and rehabilitate himself is
not merely hypothetical. He has demonstrated actual rehabilitation
between the criminal conduct and his arrest four years later.     In the
time period since this tragic event, he has rehabilitated himself, by


      Although Arnolvin was eighteen-years old at                           the   time of his
criminal conduct we respectfully submit that maturity and brain
development does not occur until a person reaches his mid-twenties
and therefore the eighteen-year old cut off for sentence treatment
does not fit into Supreme Court Jurisprudence, See Graham v.
Florida, 560 U.S. 48 (2010), quoting Roper v. Simmons, 543 U.S. 551
(2005).
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rejecting the gang and criminality,     replacing it with marriage,
children, legitimate employment, and living a day to day law abiding
life.

While in El Salvador in 2011, Arnolvin married Katia Miriye
Alvarado. Exh A. They have three pre-school children. PSR at H
46.     After    the    criminal   conduct   in this       case,   Arnolvin made    a
conscious decision to quit the gang and eschew its culture and
rules.   He   avoided  contact  with   gang  members   and  their
sympathizers.   In  2012, he worked at Optima Foods in Deer Park,
New York, always looking over his shoulder afraid that he would
be targeted for reprisals.          PSR at 1) 57.      Fearful and anxious to
escape the threat he moved his family to Georgia in 2013.   There
he was able to fully turn a corner in his life.  He began working
as a landscaper and supplemented that with a second job at
McDonald's.   He was a family man, who worked two jobs, paid
taxes, signed up for the Affordable Care Act as required and
became a productive and law abiding person.   Arnolvin knew that
eventually he would have to answer for his criminal conduct, and
I submit, that during this period in his life Arnolvin was trying
to prove to his family and more importantly to himself, that he
changed the course of his life and was remorseful for his
criminal conduct.3

This change was witnessed by Santos Acosta, who has known Arnolvin
since childhood and employed him as a Landscaper when Arnolvin lived in
Georgia.  In his letter of support Mr. Acosta confirms Arnolvin's work
history and his family commitments. He states that he knows Arnolvin as
a good husband, and excellent father.    Exh. B. In addition,    I have
enclosed a copy of his pay stubs from Optima Foods as well as pay stubs
from  Messer   Enterprises,  LLC,  which   reflects  his   position  at
McDonald's.     Exh.   C.

Arnolvin's growth, development and rehabilitation has continued
through his incarceration.  Unlike other gang members, Arnolvin
has had no disciplinary issues while detained.                      PSR at H 47.
This is because he no longer considers himself a member of the
gang. He has no gang contact or affiliation. He is a member of a
Bible Study group at the detention center.         Pastor Antonio
Escamilla writes that Arnolvin has shown "great zeal and


3 Arnolvin signed a lease, lived, worked and filed taxes under
his actual name.  This defeats the argument that he was merely
running to avoid apprehension. Exh E.
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earnestness" while attending the Bible studies.            Exh.    D.     Moreover,   as
indicated in the PSR Arnolvin, as one would expect, used marijuana
daily as a youngster but with maturity and family responsibilities he
has stopped his drug use. As reported by his wife, Arnolvin is a young
man who worked two jobs to support his family and regularly attended
religious services.   It is clear that Arnolvin has a loving wife and
family   that  supports  him.   This  bodes  well   for  his   continual
rehabilitation and eventual return to his family and his community.



V.   Imperfect Coercion Defense as a Mitigating Sentence Factor
under 18 U.S.C.     §    3553(a)

During     his    plea    allocution,     Arnolvin     raised       the     imperfect
coercion    and    duress     defense.     He   raises     it     again    now   as    a
mitigating factor to be considered at sentencing. Historically,
courts considered imperfect coercion and duress under Sentencing
Guideline 5K2.12.         See    United States v.     Cotto,      347 F.3d 441        (2d
Cir. 2003). While downward departures are obsolete in a post-
Booker sentencing, (and in this case by the terms of the plea
agreement) the court may apply those departure guidelines by way
of analogy in analyzing the 18 U.S.C. § 3553(a) factors. See
United States v. Miranda, 505 F.3d 785 (7th Cir. 2007);   United
States v. Lofink, 564 F.3d 232 (3rd Cir. 2009). "In other words,
even when the strict letter of the law does not permit a
defendant's crime to be excused as a result of duress,                      the court
may properly consider evidence of coercion as a mitigating factor
in determining the defendant's sentence."     United States v.
Pestana, 865 F.Supp 2d 357 (SDNY 2011). "Such a departure may be
based upon the authority of Guideline § 5K2.12 or independently
upon Congress's directives in 18 U.S.C. § 3553 or upon both."
United States v. Gaviria, 804 F.Supp. 476 (EDNY 1992) .

As a mitigating factor, imperfect duress does not need to                             be
absolute as would be the case if it were presented as                                 an
affirmative defense        and   "the court   is not confined to the classic
definition of duress." Cotto at 445. Rather only a "general
threat of physical injury or substantial damage to property, and
thus reflects a broader conception of coercion than does the
affirmative defense." Id. at 446 (internal quotes omitted).

Here, Arnolvin was in absolute fear of his life.                   He was a member
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of the MS-13 gang, as were the two victims, the Ceron brothers.   Gang
leaders ordered Arnolvin to commit the crimes in question because they
wanted Enston Ceron's brother dead for distancing himself from the
gang, not attending meetings, and not "putting in work." PSR at %.
Gang leaders wanted Ricardo Ceron dead to prevent retaliation. Id.
Arnolvin knew that the same order would be put out against his life if
he did not follow the leadership's direction. His duress went far
beyond a "general threat of physical injury" as required by the Second
Circuit. Arnolvin knew that the punishment for not following gang
leadership orders would be death.

It is possible that Arnolvin had some idea before entering the
gang that certain crimes would be required of him; however his
youthful age,  lack of maturity, and lack of options likely
prevented him from reasonably assessing the                seriousness of        the
situation  in which he would ultimately find himself.       As a
result, it would be appropriate for the Court to consider his age
in conjunction with the high level of duress Arnolvin was under
when he committed these crimes as mitigating factors.

VI.   Conclusion


Arnolvin is sincerely remorseful about his actions. He has come
a long way since these crimes were committed. He has fled the
gang, started a family, and joined the workforce.   Now that he
has escaped the life in which he grew up, he is able to
appreciate the seriousness of his actions and is willing to
accept the consequences. Arnolvin has shown the capacity to
change, in fact, he self-corrected between the time of the crime
and his arrest.   Now, he wants nothing more than to be a good
husband and father to his three children, to have the opportunity
to model for them at some point in the future the kind of man he
has become.


The   Department      of   Probation's   sentence    recommendation      looks    at
the criminal conduct, as it must, but underestimates Arnolvin's
post conduct rehabilitation. The recommendation fails to give
weight to his age,     in-maturity and impulsivity, which are
hallmark characteristics, which I respectfully submit, caused
Arnolvin not    to appreciate the risks of           joining the gang.           Its
sentencing   recommendation   also    fails   to   consider   the
extraordinary and savage gang violence perpetrated on its members
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by the leadership.4

The crimes in question were aberrant, taking place over a short
period of time while Arnolvin was young and easily influenced. He
was not a supervisor, nor did he play an aggravating role.     He
was, in fact, in fear for his life if he did not participate.
The   amount   of    duress   he    was   under   to   commit    these     crimes    --    to
kill or be killed -- is almost unimaginable.

Arnolvin   has      learned   how    to   live    without    the    gang    and     he    has
proven through his post conduct rehabilitation that there is
little chance of recidivism.   He accepts full responsibility for
his actions and requests the Court consider some of the mitigating
factors he has presented here in its sentencing.      A guideline
sentence of thirty years we submit is sufficient but not greater
than necessary to satisfy the goals of sentencing pursuant to 18
U.S.C.   § 3553     (a).

Thank you for your consideration.




cc: A.U.S.A. John Durham (By email)
    Arnolvin Velasquez (By regular Mail)




4As a practical matter Probation's recommendation also ignores
the fact that Arnolvin did not shoot at the good Samaritan who
approached the Cernon murder scene.                This was Arnolvin's first
act to distance himself from the gang. PSR at 1 7.                       I believe the
government will confirm this fact.
